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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                          Case Number: 23-mc-32 (APM)
 DAVID KENNER,

                               Defendant.


                         ORDER GRANTING
    MOTION FOR ORDER TO SHOW CAUSE AND NOTICE OF PROSECUTION

       This matter comes before the court on the United States’ Motion for Order to Show Cause,

ECF No. 1, and Consent Supplement to Government’s Motion for Order to Show Cause,

ECF No. 14. The Motion hereby is granted.

       Based on representations made to the court by counsel for the United States following an

investigation, the court finds probable cause that David Kenner, counsel of record for Defendant

Prakazrel Michel, 19-cr-148 (CKK) (D.D.C), committed misdemeanor contempt in violation of

18 U.S.C. § 401(3).

       In accordance with Federal Rule of Criminal Rule 42, the court hereby gives notice to

Mr. Kenner that:

       (a) trial in this matter is set for January 26, 2024, at 2:00 p.m. in Courtroom 10; and

       (b) the essential facts constituting the charged criminal contempt are set forth as alleged in

             the Motion for Order to Show Cause, ECF No. 1, which is incorporated by reference

             herein.
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        This Order has not “allow[ed] the defendant a reasonable time to prepare a defense,”

Fed. R. Crim. P. 42(a)(1)(B), because the court understands Mr. Kenner is prepared to enter a plea

on the date of trial.

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                                                    Amit P. Mehta
                                                    United States District Court Judge




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